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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION


GATEWAY CLIPPERS HOLDINGS LLC,          )
GATEWAY CLIPPERS HOLDINGS LLC II,       )
and GATEWAY CLIPPERS HOLDINGS           )
LLC III                                 )
                                        )
     Plaintiff,                         )
                                        )      Case No.:
v.                                      )
                                        )
MAIN STREET AMERICA PROTECTION          )
INSURANCE COMPANY,                      )
and                                     )
AMERICAN FAMILY INSURANCE               )
MUTUAL HOLDING COMPANY                  )
D/B/A THE MAIN STREET AMERICA           )
GROUP,                                  )
                                        )
                                        )      JURY TRIAL DEMANDED
     Defendant.                         )


                          PLAINTIFF’S COMPLAINT
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   PLAINTIFFS GATEWAY CLIPPERS HOLDINGS, GATEWAY CLIPPERS HOLDINGS

II, and GATEWAY CLIPPERS HOLDINGS III bring this action for breach of contract, breach

of the covenant of good faith and fair dealing, and declaratory and injunctive relief against

MAIN STREET AMERICA PROTECTION INSURANCE COMPANY and AMERICAN

FAMILY INSURANCE MUTUAL HOLDING COMPANY D/B/A THE MAIN STREET

AMERICA GROUP demanding a trial by jury. Plaintiff makes the following allegations based

upon information and belief, except as to those allegations specifically pertaining to Gateway

Clippers, which are based on personal knowledge.

                                I. NATURE OF THE ACTION

   1. Gateway Clippers Holdings LLC, Gateway Clippers Holdings LLC II and Gateway

Clippers Holdings III (collectively “Gateway Clippers” or “Plaintiff”) own and operate 54

franchised Great Clips hair salons in Florida. To provide protection in the event of a catastrophic

event beyond its control, Gateway Clippers purchased a business insurance policy from

Defendant Main Street America Protection Insurance Company (“Main Street”) and Defendant

American Family Insurance Mutual Holding Company d/b/a The Main Street America Group

(“American Family”) (collectively Defendants). That policy promises to indemnify the

policyholder for actual business losses incurred when business operations are involuntarily

suspended, interrupted, or curtailed because of direct physical loss of or damage to its property.

This coverage, commonly known as “business interruption” or “business income” coverage, is

standard in most all-risk commercial property insurance policies.

   2. Insurance is a way to manage risk, providing protection from financial loss. It is

especially appropriate – indeed, vital – for protection against losses that, while unlikely, would

be financially devastating if they occur. To protect itself from just such a disaster, Gateway



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Clippers purchased business insurance, including business interruption coverage, from

Defendants for the year February 1, 2020 to February 1, 2021.

      3. Main Street claims to “offer the coverages needed in today’s dynamic marketplace to

protect what’s important to you: your livelihood”; that includes protection for hair salons: 1

      Protect what’s
       important to
        you: your
        livelihood




      Hair salons



      4. To that end, Main Street tells prospective insureds that it protects loss of income and

extra expenses resulting from an insured’s loss: 2




1
    https://www.msagroup.com/business/business-owners (accessed 10/4/2020).
2
    https://www.msagroup.com/business/business-owners (accessed 10/4/2020).

                                                        2
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                                                                                            Protects loss
                                                                                            of business
                                                                                              income




      5. American Family tells businesses that they need business insurance “because the reality

is that without business insurance, your company's assets, and all of your hard work, can be lost

if something unexpected should happen” 3:




                                                                            Everything “can be lost if
                                                                             something unexpected
                                                                                should happen.”



3
    https://amfam.com/insurance/business/coverages (accessed 10/15/2020).

                                                         3
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     6. Then in March 2020, something unexpected happened, a disaster that was the worst

health crisis to hit the United States, and indeed the world, in over a century, a worldwide

pandemic of a disease called COVID-19. It caused massive illness and death.

     7. As a result of the pandemic and to protect against its spread, on March 16, 2020, the

White House advised all Americans: “Do not go to work. Do not go to school.” 4

     8. Governor DeSantis followed on April 1, ordering all persons in Florida to stay at home

except for essential services. Services provided by hair salons were not deemed essential. 5

     9. Counties in Florida, including counties where Plaintiff’s hair salons are located, issued

similar orders even sooner.

     10. As a result of the risks of staying open during the COVID pandemic, as well as the

government orders, Gateway Clippers closed all of its Florida salons between March 20 and 22

and kept them closed for nearly two months. Even afterward, the need to socially distance has

caused Gateway Clippers to be unable to serve its accustomed number of customers and

therefore suffer continued losses. Plaintiff has also had to incur extra expenses for items

necessary to keep the salons open, such as plexiglass dividers, masks and extra cleaning supplies.

     11. However, Defendant refuses to comply with its obligation to cover Gateway Clipper’s

business income losses and covered expenses.

     12. As shown herein, in response to Plaintiff’s claim of losses caused by the COVID-19

pandemic, Defendant first tried to give Gateway Clippers the runaround, requiring that it supply

a vast amount of irrelevant information or information that Defendant already knew before it

would even say whether it would cover the losses. The information that Defendant demanded


4
 https://www.reuters.com/article/health-coronavirus-trump-guidelines-idUKL1N2B95Q1 (accessed 10/26/2020).
5
 Executive Orders No. 20-21 and 20-92, https://www.flgov.com/wp-content/uploads/orders/2020/EO_20-91-
compressed.pdf and https://www.flgov.com/wp-content/uploads/orders/2020/EO_20-92.pdf (both accessed
10/26/2020),

                                                     4
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included financial statements going back many years (some of which is relevant for the amount

of the loss but not for whether the loss is covered), a list of any other locations where Gateway

does business, and even the names of employees who have contracted the disease.

    13. Gateway asked Main Street to limit the questions to matters that it did not already know

and that were relevant to the question of coverage. Main Street refused.

    14. Ultimately, Defendant denied the claim for invalid reasons that, as shown herein, further

demonstrate its bad faith. These included the following:

    15. Defendant blatantly misinterpreted the Policy’s Business Income coverage as requiring

“physical loss or damage to the property.” The Policy covers “physical loss of or damage to

property, a difference that is critical because Plaintiff suffered a “loss of” its property when the

pandemic rendered it unable to use its property as a hair salon.

    16. Defendant failed to investigate governmental orders that led to the closure of Plaintiff’s

losses even though these losses are publicly available.

    17. One of the grounds on which Defendant based its denial was the Policy’s Virus

Exclusion. However, it based that denial on an astounding misapprehension that COVID-19 is a

virus rather than a disease caused by a virus.

    18. The Virus Exclusion excludes from coverage losses that are directly caused by a virus

where there is no other cause or event that contributes concurrently or in any sequence to the

loss. Plaintiff’s claim had asserted that its losses were caused by the COVID-19 pandemic, not

the virus.

    19. Any causal relationship between the virus and Plaintiff’s losses is indirect (the virus

caused COVID-19, which resulted in the pandemic, which caused Plaintiff to close its salons)

and occurred in addition to other causes, namely the COVID-19 disease, the pandemic and



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government closure orders. By misinterpreting COVID-19 as a virus, Defendant erroneously

found a direct causal relationship between COVID-19 and Plaintiff’s losses in the absence of

other causes.

    20. Gateway has therefore been forced to bring this lawsuit to obtain the coverage for which

it obtained its Policy.

                                       II. THE PARTIES

    21. Gateway Clippers Holdings LLC, Gateway Clippers Holdings LLC II and Gateway

Clippers Holdings III are Missouri Limited Liability Corporations with their headquarters 165 N.

Meramec Ave., Suite 500, St. Louis, MO 63105at 165 N. Meramec Ave., Suite 500, St. Louis,

MO 63105, where management decisions are made. Together, they owned and operated 54

franchised Great Clips hair salons in Florida at the time of the COVID-19 pandemic. They

purchased a common policy, Policy Number: BPP1387S (“the Policy”), from Defendants, with a

policy period of February 28, 2020, through February 28, 2021. (Ex. A at 11.)

    22. Main Street America Protection Insurance Company (“Main Street”) is a corporation

incorporated in Florida with its headquarters at 46-1 Toughton Road East, Suite 3400,

Jacksonville, FL 32246.

    23. Main Street is part of Main Street America Group Mutual Holdings, Inc., a corporation

that was also a party to Plaintiff’s Policy, as can be seen from these screenshots from the Policy

(Ex. A at 6, 10, 255):




                                                 6
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      24. The Main Street America Group claims to take care of its customers “better than anyone

else”: 6




6
    https://www.msagroup.com/ (accessed 10/26/2020).

                                                       7
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      25. In or about October 2018, Main Street America Group Holdings, Inc. was merged with

and into Defendant American Family Insurance Mutual Holdings Company. Pursuant to that

merger, the separate existence of Main Street America Group Holdings, Inc., ceased. The

surviving corporation following the merger was American Family Insurance Mutual Holding

Company. 7

      26. American Family Insurance Mutual Holding Company is a Wisconsin corporation with

its principal place of business in Madison, Wisconsin. It ranks No. 306 on the Fortune 500 list. 8

In 2019, it reported assets of $31.1 billion, members’ equity of $9. 8 billion and revenue of $12.2

billion. 9




7
  http://search.sunbiz.org/Inquiry/CorporationSearch/ConvertTiffToPDF?storagePath=COR%5C2018%5C1101%5C
20260668.Tif&documentNumber=P05000145149 (accessed 10/26/2020).
8
   available through a link at https://www.amfam.com/about/financial-strength (accessed 10/26/2016).
9
   Id.

                                                  8
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                                III. JURISDICTION AND VENUE

     27. This Court has subject matter jurisdiction under 28 U.S.C. § 1332(1) because the matter

in controversy exceeds $75,000, exclusive of interests and costs and there is complete diversity

between the parties.

     28. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

part, if not all, of the acts and omissions complained of in this action took place in this district.

     29. The facts alleged herein show that the Court has specific personal jurisdiction over

Defendants

                                 IV. FACTUAL ALLEGATIONS

     A. The Global COVID-19 Pandemic

     30. According to the World Health Organization (“WHO”), COVID-19 is an infectious

disease for which there are no vaccines or treatments. 10 It spreads easily from person-to-person. 11

     31. When an infected person coughs, sneezes, or even just talks, droplets with the infectious

agent, a virus known as coronavirus or SARS-CoV-2, fly into the air from the person’s nose or

mouth and can thereby infect others. This can occur even if the person is asymptomatic. 12 As

WebMD states, “Some people who don't know they've been infected can give it to others. This is

called asymptomatic spread. You can also pass it on before you notice any signs of infection,

called presymptomatic spread.” 13

     32. Thus, there is no way to know whether a person with whom one comes into contact might

be spreading the disease.



10
   https://www.who.int/health-topics/coronavirus#tab=tab_1 (accessed 10/26/2020).
11
   https://www.cdc.gov/coronavirus/2019-ncov/cases-
updates/summary.html#:~:text=On%20March%2011%2C%20the,of%20new%20influenza%20viruses. (accessed
10/26/2020).
12
   https://www.webmd.com/lung/coronavirus-transmission-overview#1 (accessed 10/26/2020).
13
   Id.

                                                   9
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     33. The coronavirus can live in the air for up to three hours, be breathed in by others, and get

into their lungs, where it can infect them. 14

     34. The coronavirus can also infect people who touch surfaces, such as countertops,

furniture, doorknobs and other surfaces in a facility like Plaintiff’s if it contains the virus. It can

live on plastic and stainless steel for up to three days. 15

     35. According to the Centers for Disease Control, COVID-19 can cause mild to severe

symptoms, such as cough, shortness of breath or difficulty breathing, fever, chills, muscle pain,

sore throat and loss of taste or smell. 16

     36. COVID-19 is a new disease. The first known outbreak was a cluster of cases of

pneumonia in Wuhan, Hubei Province in China in December 2019. 17 The disease did not even

have an official name when WHO declared a “Public Health Emergency of International

Concern” on January 30, 2020. 18 The disease was given its name by WHO on February 11, 2020,

short for “coronavirus disease 2019.” 19

     37. After it was discovered, COVID-19 spread rapidly. On March 11, 2020, “[d]eeply

concerned both by the alarming levels of spread and severity, and by the alarming levels of

inaction, WHO made the assessment that COVID-19 can be characterized as a pandemic.” 20

     38. A pandemic is “an outbreak of a disease that occurs over a wide geographic area and

affects an exceptionally high proportion of the population.” 21 To be classified as a pandemic,

WHO requires “the worldwide spread of a new disease.” 22

14
   Id.
15
   Id.
16
   https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html (accessed 10/26/2020).
17
   https://www.who.int/news-room/detail/27-04-2020-who-timeline---covid-19 (accessed 10/26/2020).
18
   https://www.who.int/emergencies/diseases/novel-coronavirus-2019/events-as-they-happen (accessed 10/26/2020).
19
   https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200211-sitrep-22-
ncov.pdf?sfvrsn=fb6d49b1_2 (accessed 10/26/2020).
20
   https://www.who.int/news-room/detail/27-04-2020-who-timeline---covid-19 (accessed 10/26/2020).
21
   https://www.merriam-webster.com/dictionary/pandemic (accessed 10/26/2020).
22
   https://www.who.int/csr/disease/swineflu/frequently_asked_questions/pandemic/en/ (accessed 10/26/2020).

                                                      10
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     39. At the point that WHO called COVID-19 a pandemic on March 11, the number of cases

outside China in just the past two weeks had increased by 13-fold to 118,000 in 114 countries;

more than 4,000 people had lost their lives, and as the Director-General of WHO stated,

“[t]housands more [were] fighting for their lives in hospitals.” 23

     40. According to the COVID Tracking Project, by that same date, March 11, 2,064 patients

had tested positive (confirmed plus probable) in the United States, and 43 patients had died of

the disease (confirmed plus probable). From that date on, the number of cases and deaths

increased exponentially. By March 17, 2020, less than a week later, the number of cases

nationwide had increased approximately 5 times to 10,358, and the number of deaths had

increased by approximately three times to 120. 24

     41. By the time Governor De Santis issued its “Stay at Home” Order on April 1, 2020,

positive tests nationwide had increased another 22 times to 224,086 and deaths another 44 times

to 5,324. 25

     42. As of October 16, 2020, according to the New York Times, there were more than 8

million COVID-19 cases in the United States, with 217,000 deaths. 26 That was more than any

other country in the world and the 11th highest on a per capita basis in both metrics. 27

     43. Florida has been particularly hard hit. As of mid-October according to the New York

Times, it was the fifth-ranked state in cases per 100,000 population. Here were the top ten: 28




23
   https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-briefing-on-covid-
19---11-march-2020 (accessed 10/26/2020).
24
   https://covidtracking.com/data/us-daily (accessed 10/26/2020).
25
   https://covidtracking.com/data/national (accessed 10/15/2020).
26
   https://www.nytimes.com/interactive/2020/world/coronavirus-maps.html (accessed 10/16/2020).
27
   Id.
28
   https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html (accessed 10/15/20200.

                                                       11
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       44. Also in mid-October Florida ranked 11th among the states in COVID-19 deaths per

100,000 and sixth in deaths per 100,000 in the past week 29:




29
     Id.

                                                12
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     B. Steps Taken by Authorities to Control the Pandemic

     45. On March 13, 2020, the White House issued a proclamation declaring “that the COVID-

19 outbreak in the United States constitutes a national emergency”; it specified that the

emergency had actually begun March 1, 2020. 30

     46. As a result of the pandemic and to protect against its spread, on March 16, 2020, the

White House advised all Americans: “Do not go to work. Do not go to school.” 31

     47. Governor DeSantis followed on April 1, ordering all persons in Florida to stay at home

except for essential services. Services provided by hair salons were not deemed essential. 32

     48. Many counties in Florida acted earlier.

     49. For example, on March 24, 2020, Orange County, where Gateway Clippers had 13

salons, issued an Executive Order requiring all non-essential businesses to close. Hair salons

were not regarded as essential. 33 On March 26, 2020, Orange County issued an order clarifying

the March 24, 2020, Executive Order as to non-essential businesses, but still requiring hair

salons to close. 34

     50. On March 19, Hillsborough County, where ten of Gateway Clippers’ salons are located,

prohibited gatherings of 10 or more people in a single room except for venues providing

essential goods or services such as medical facilities and grocery stores. Hair salons were not

deemed essential. 35 On March 26, 2020, Hillsborough County issued a “Safer at Home” order

30
   https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-concerning-novel-
coronavirus-disease-covid-19-outbreak/ (accessed 10/26/2020).
31
   https://www.reuters.com/article/health-coronavirus-trump-guidelines-idUKL1N2B95Q1 (accessed 10/26/2020).
32
   Executive Orders No. 20-21 and 20-92, https://www.flgov.com/wp-content/uploads/orders/2020/EO_20-91-
compressed.pdf and https://www.flgov.com/wp-content/uploads/orders/2020/EO_20-92.pdf (both accessed
10/26/2020),
33
   Executive Order 20-04, available at https://www.orangecountyfl.net/Portals/0/Library/Emergency-
Safety/docs/coronavirus/Emergency%20Executive%20Order%20No.%202020-04%20-%2003-24-20.pdf (accessed
10/26/2020).
34
   Executive Order 20-05, available at https://www.orangecountyfl.net/portals/0/library/Emergency-
Safety/docs/coronavirus/Orange%20County%20Executive%20Order%202020-05.pdf (accessed 10/26/2020).
35
   https://www.hillsboroughcounty.org/library/hillsborough/media-center/documents/administrator/administrative-
orders/ao3192020.pdf (accessed 10/26/2020).

                                                      13
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that, among other things, required businesses to close if their employees could not maintain a 6-

foot physical distance from customers. 36 This made it impossible for Gateway Clippers’ salons in

Hillsborough to stay open because hair cutters and hair stylists cannot maintain a 6-foot distance

from customers.

     51. Similarly, Pinellas County, where Gateway Clippers had six salons, issued an order on

March 25, 2020, that required all individuals in the county to maintain a distance of 6 feet from

other persons and required hair salons to close because they were not among those allowed to

stay open. 37

     52. Other Florida counties where Gateway Clippers has salons took similar steps.

     C. The Damaging Impact of the COVID-19 Pandemic on Plaintiff.

     53. As a result of the risks of staying open during the COVID-19 pandemic, as well as

government shut-down orders, Plaintiff closed its Florida salons for up to two months beginning

in the second half of March 2020. It closed three of its Tampa-area salons on March 20, 2020,

and the remaining Florida salons on March 22, 2020.

     54. Plaintiff re-opened all 31 of its Orlando-area salons on May 11, 2020, and its remaining

salons at various dates from May 13-22, 2020. Even after re-opening, Plaintiff suffered business

losses due to the requirement for social distancing, which limited the number of patrons in could

handle at one time.

     55. In addition, after re-opening, Plaintiff has had Extra Expenses because of the need to

purchase such items as Plexiglass dividers, masks and cleaning supplies.




36
   https://www.hillsboroughcounty.org/en/media-center/press-releases/2020/03/27/hillsborough-county-emergency-
policy-group-approves-safer-at-home-order (accessed 10/26/20).
37
   https://www.pinellascounty.org/emergency/PDF/covid19/res20-20.pdf (accessed 10/26/2020)

                                                      14
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   D. Plaintiff’s Business Insurance Policies with Defendant

   56. In exchange for premiums paid by Plaintiff to Defendant, Plaintiff obtained a

Businessowners Policy, Policy BPP1387S, covering a Policy Period from February 28, 2020 to

February 28, 2021 (“The Policy”). See Ex. A. at 11 (all page numbers in citations to this exhibit

refer to the page of the pdf, including the cover page).

   57. The Policy contains a Businessowners coverage form, Form BPM P 1 FL 03 19 (Ex. A at

161 ff.), which includes coverage for Business Income and Extra Expense. The provision for that

coverage states:

       We will pay for the actual loss of Business Income you sustain due to the
       necessary “suspension” of your “operations” during the “period of restoration”.
       The “suspension” must be caused by direct physical loss of or damage to property
       at the described premises. The loss or damage must be caused by or result from a
       Covered Cause of Loss.

Ex. A at 166 (emphasis added).

   58. The described premises are Gateway’s Florida salons. Ex. A at 13-68.

   59. Although some terms in the policy are defined, Defendants chose not to define “direct

physical loss of or damage to property” in the coverage for loss of Business Income. Thus, those

words must be given their plain and ordinary meaning, consistent with the expectations of the

policyholder.

   60. In the phrase “direct physical loss of or damage to property,” “loss” is used as an

alternative to “damage.” Thus, there is coverage for both “loss” and “damage.”

   61. “Loss of property” can be reasonably read as being deprived of the use of property, while

“damage” can refer to a reduction in a property’s functionality.

   62. Using a grammatical reading of the phrase “direct physical loss of or damage to

property,” the words “direct” and “physical” can be reasonably construed as modifying only the

word “loss” and not “damage.” If Main Street had intended “direct” and “physical” to modify

                                                 15
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“damage,” it should have and would have said “direct physical loss or direct physical damage.”

In fact, there are commercial insurance policies that say just that, “direct physical loss or direct

physical damage.” To the extent that language in this policy is ambiguous, it must be construed

against Defendant. Thus, while “loss” must be direct and physical, “damage” need not be.

    63. The COVID-19 pandemic caused a direct physical loss of Gateway’s property at the

described premises by directly denying Plaintiff the ability to physically access and use the

property in the normal fashion in its business; it is therefore a covered loss.

    64. Because “damage” need not be “direct” or “physical” to be covered, it can be indirect and

non-physical – i.e., intangible. Plaintiff suffered such intangible damage – a reduction in the

property’s functionality – as a result of the COVID-19 pandemic.

    65. The Policy defines Business Income as the:

            (i) Net Income (Net Profit or Loss before income taxes) that would have been earned
                or incurred if no physical loss or damage had occurred, but not including any Net
                Income that would likely have been earned as a result of an increase in the
                volume of business due to favorable business conditions caused by the impact of
                the Covered Cause of Loss on customers or on other businesses; and

            (ii) Continuing normal operating expenses incurred, including payroll.

Ex. A at 166.

    66. The Policy also covers Extended Business Income for losses that occur after the property

is restored, as follows:

        (a) If the necessary “suspension” of your “operations” produces a Business Income loss
        payable under this policy, we will pay for the actual loss of Business Income you incur
        during the period that:

                (i) Begins on the date property except finished stock is actually repaired, rebuilt or
                replaced and ‘operations’ are resumed; and

                (ii) Ends on the earlier of:




                                                  16
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                       i The date you could restore your “operations”, with reasonable speed, to
                       the level which would generate the business income amount that would
                       have existed if no direct physical loss or damage had occurred; or

                       ii 60 consecutive days after the date determined in Paragraph (a)(1) above,
                       unless a greater number of consecutive days is shown in the Declarations.

                However, Extended Business Income does not apply to loss of Business Income
                incurred as a result of unfavorable business conditions caused by the impact of the
                Covered Cause of Loss in the area where the described premises are located.

                (b) Loss of Business Income must be caused by direct physical loss or damage at
                the described premises caused by or resulting from any Covered Cause of Loss.

Ex. A at 166.

   67. “Suspension” means “[t]he partial slowdown or complete cessation of your business

activities ….” Ex. A at 194. That applies to Plaintiff’s Business Income losses because, as a

result of the COVID-19 pandemic, its business activities partially slowed down or ceased.

   68. The Policy defines “[o]perations” as “[y]our business activities occurring at the described

premises ….” Ex. A at 193.

   69. For business income coverage, “period of restoration” starts “72 hours after the time of

direct physical loss or damage ….” Ex. A at 193 and 13-68.

   70. The Policy also covers “the necessary Extra Expense you incur during the ‘period of

restoration’ that you would not have incurred if there had been no direct physical loss or damage

to property at the described premises. The loss or damage must be caused by or result from a

Covered Cause of Loss.” Ex. A at 167.

   71. Extra Expense is defined, in pertinent part, as “expense incurred: (i) To avoid or

minimize the ‘suspension’ of business and to continue ‘operations’: 1. At the described premises

….” Ex. A at 167 (paragraphing omitted).

   72. The Businessowners Coverage Form contains an additional coverage called, “Civil

Authority.” Ex. A 168. That provision states:

                                                17
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       When the Declarations show you have coverage for Business Income and Extra
       Expense, we will pay for the actual loss of Business Income you sustain and
       necessary Extra Expense caused by action of civil authority that prohibits access
       to the described premises due to direct physical loss of or damage to property,
       other than at the described premises, caused by or resulting from any Covered
       Cause of Loss.

       The coverage for Business Income will begin immediately after the time of that
       action and will apply for a period of up to thirty consecutive days after coverage
       begins.

   73. Plaintiff has coverage under that provision because, under the governmental orders

described above, access was prohibited to Plaintiff’s premises due to direct physical loss of or

damage to property at other premises. That loss and damage at other premises was due to

contamination with the coronavirus.

   74. As noted above, the Business Income and Extra Expense provisions provide that “loss or

damage must be caused by or result from a Covered Cause of Loss.” Ex. A at 166, 167. Because

the phrase “Covered Cause of Loss” is not in quote marks, it is not a specially defined term.

   75. The Policy provides that “Covered Causes of Loss” are “[r]isks of direct physical loss

unless the loss is: a. Excluded in Paragraph B. Exclusions in Section I; or Limited in Paragraph

A. 4. Limitations in Section I.” – Special Form. Ex. A at 162 (paragraphing omitted).

   76. None of the referenced Exclusions or Limitations apply to Plaintiff’s losses.

   77. One of the Exclusions is for “[t]he enforcement of any ordinance or law” (a) [r]egulating

the construction, use or repair of any property ….” Ex. A at 181 (Paragraphing omitted).

   78. That exclusion does not apply to Plaintiff’s losses for the following reasons:

   79. First, the government closure orders were discretionary measures authorized by law but

they were not the enforcement of ordinances or laws. There is no ordinance or law that required

that Plaintiff suspend any of its operations during this pandemic.




                                                18
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    80. Second, it was the pandemic that was the cause of the loss. The government orders did

not cause or increase that loss. See Hampton Foods, Inc. v. Aetna Cas. & Sur. Co., 787 F.2d 349,

352–53 (8th Cir. 1986).

    81. Furthermore, Plaintiff closed its salons before it was ordered to by government

authorities.

    82. The Policy also contains a separate Endorsement titled, “Florida – Exclusion of Loss Due

to Virus or Bacteria” (Ex. A at 153), which states:

        We will not pay for loss or damage caused by or resulting from any virus, bacterium
        or other microorganism that induces or is capable of inducing physical distress,
        illness or disease.

    83. That exclusion does not apply to Plaintiff’s loss because that loss was not caused by a

virus. There is no evidence that the virus has ever been in Plaintiff’s premises. Plaintiff’s loss

was caused by a pandemic and the precautionary measures taken by federal, state and local

officials to prevent its spread.

    84. Defendants could have employed broader causation language in the Virus Exclusion and

thereby excluded Plaintiff’s losses due to the pandemic. It does use such language elsewhere in

the Policy, but not in the Virus Exclusion.

    85. For example, the Exclusion provision in the Businessowners Causes of Loss – Special

Form states:

        We will not pay for loss or damage caused directly or indirectly by any of the
        following. Such loss or damage is excluded regardless of any other cause or event
        that contributes concurrently or in any sequence to the loss.

Ex. A at 181 (emphasis added).

    86. In the Virus Exclusion, however, Main Street elected to use the more restrictive causation

language, “caused by or resulting from,” rather than “caused directly or indirectly.” Therefore,

the Virus Exclusion does not apply if the virus causes the loss indirectly. Here, if the coronavirus

                                                 19
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has any causal relationship to Plaintiff’s losses, it is indirect in that the virus caused COVID-19,

which led to the pandemic, which caused Plaintiff to close its premises.

       87. Nor does the Virus Exclusion apply if there is any other cause or event that contributes

concurrently or in any sequence to the loss, as other exclusions do. Here, the other cause –

indeed, the primary cause – is the COVID-19 pandemic.

       88. The following screenshots show the differences between these two types of exclusions: 38

 Causes of Loss Exclusion                               Virus Exclusion




                                                      “regardless of             No mention of
       “directly or                                  any other cause
       indirectly”                                                               “indirectly” or
                                                        or event”                  other cause
It could not be clearer that the Virus Exclusion does not apply if a virus causes a loss indirectly

or where there is another cause.

       89. Furthermore, even if the Virus Exclusion were applicable to the losses of Plaintiff and

Class members, under the principles of regulatory estoppel and general public policy, Defendants

should be estopped from enforcing it.

       90. Specifically, in 2006, two insurance industry trade groups, the ISO and the American

Association of Insurance Services (“AAIS”), represented hundreds of insurers in a national effort

to seek approval from state insurance regulators for the adoption of the Virus Exclusion.

       91. In filings with state regulators, ISO and AAIS, on behalf of insurers, represented that the

adoption of the Virus Exclusion was only meant to “clarify” that coverage for “disease-causing

agents” has never been in effect, and was never intended to be included, in the property policies.




38
     Ex. A at 181, 153.

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   92. In a July 6, 2006, “ISO Circular” entitled “New Endorsements Filed to Address

Exclusion of Loss Due to Virus or Bacteria,” ISO represented to the state regulatory bodies:

       While property polices have not been a source of recovery for losses involving
       contamination by disease-causing agents, the spector of pandemic or hitherto
       unorthodox transmission of infectious material raises the concern that insurers
       employing such polices may face claims in which there are efforts to expand
       coverage to create sources of recovery for such losses, contrary to policy intent.

   93. Similarly, AAIS, in its “Filing Memorandum” in support of the Virus Exclusion,

represented:

       Property policies have not been, nor were they intended to be, a source of
       recovery for loss, cost or expense caused by disease causing agents. With the
       possibility of a pandemic, there is concern that claims may result in efforts to
       expand coverage to create recovery for loss where no coverage was originally
       intended . . .

   94. This endorsement clarifies that loss, cost, or expense caused by, resulting from, or

relating to any virus, bacterium, or other microorganism that causes disease, illness, or physical

distress or that is capable of causing disease, illness, or physical distress is excluded…

   95. These representations made by the insurance industry were false.

   96. By 2006, the time of the state applications to approve the Virus Exclusion, courts had

repeatedly found that property insurance policies covered claims involving disease-causing

agents, and had held on numerous occasions that any condition making it impossible to use

property for its intended use constituted “physical loss or damage to such property.”

   97. Upon information and belief, the state insurance departments relied on the industry’s and

Defendants’ representation in approving the Virus Exclusion for inclusion in standard

comprehensive policies without a reduction in premiums to balance a reduction in coverage.

   98. The assertions made by the insurance industry and Defendants to obtain regulatory

approval of the Virus Exclusion were misrepresentations and for this reason, among other public



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policy concerns, Defendants should be estopped from enforcing the Virus Exclusion to avoid

coverage of claims related to the COVID-19 pandemic.

      99. In securing approval for the adoption of the Virus Exclusion by misrepresenting to the

state regulators that the Virus Exclusion would not change the scope of coverage, Defendants

effectively narrowed the scope of the insuring agreement without a commensurate reduction in

premiums charged.

      100. Under the doctrine of regulatory estoppel, the Court should not permit Defendants to

benefit from this type of duplicitous conduct before the state regulators.

      101. For the above reasons, Plaintiff is entitled to coverage under the above provisions of The

Policy.

      E. Defendant’s Efforts to Discourage Insureds from Making Claims Despite Knowing
         That It Will Have to Pay Them and Its Denial of Plaintiff’s Claim

      102. Defendant has taken no steps to cover its insureds for their COVID-related business

losses. On its website, despite devoting a web page to “COVID-19 Updates” and saying,

“COVID-19 Update: We’re Here to Help” it makes clear that that help does not extend to

honoring its coverage obligations: 39




39
     https://www.msagroup.com/COVID19 (accessed 10/26/2020).

                                                     22
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  103. Nowhere on this page does Main Street acknowledge to its customers that their COVID-

19 losses are covered by its Policy.




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      104. Similarly, American Family has a “Coronavirus Update” page that conspicuously avoids

telling policyholders that it will honor claims for business losses due to COVID-19 40:




      105. Despite that strategy, Plaintiff, through counsel, made a claim on its policy by email to

Main Street’s agent on September 24, 2020, and asked that Main Street acknowledge coverage

and respond by October 1, 2020. Ex. B. In response, Main Street attempted to make it difficult

for Plaintiff to pursue this claim.

      106. Plaintiff received an emailed response on September 30, 2020, from Cassandra White,

who identified herself as Claim Representative of Main Street America Insurance. Ex. C. On

LinkedIn.com, she identifies her employer as The Main Street America Group. 41

      107. In that response, Ms. White demanded that Plaintiff complete a detailed seven-page

questionnaire with 18 questions. Ex. D. Many of those questions asked for information that Main

Street already knew or that was irrelevant to whether there was coverage for Plaintiff’s business

losses. For example, Question 3 asked for all addresses where Plaintiff operates without limiting

them to those that are covered by the Policy. And, of course, it knows the addresses of the


40
     https://www.amfam.com/about/coronavirus (accessed 10/26/2020).
41
     https://www.linkedin.com/in/cassandra-white-562347108/ (accessed 10/26/2020).

                                                        24
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covered locations from its underwriting procedures. It also asked how long Plaintiff had operated

at each location, a question irrelevant to whether there is coverage.

      108. Other questions asked Plaintiff to breach the medical confidentiality of its employees and

others by asking the names of employees and employees’ contacts who had contracted COVID-

19. (Ex. D, Questions 13-15.)

      109. The questionnaire also demanded information regarding the amount of the loss, which

would only be relevant if Main Street acknowledged coverage. Ex. D, Question 17.

      110. In response, Plaintiff’s counsel emailed Ms. White that day and, after explaining why

many of the questions were irrelevant to the determination of coverage, stated that “if there is

information that you actually need to determine whether there is coverage, please let me know

and explain how that information bears on the determination by pointing to the relevant

provision of the policy.” Counsel added, “[P]lease be specific. If, for example, you re-ask

Questions 3 and 7, please explain how long the company needs to have been in business or needs

to have operated at any particular location prior to the date of the policy (you know it was in

business on the date of the policy) for you to accept coverage.”

      111. In response, Brian J. Brennan, identified as The Main Street America Insurance

Corporate Litigation Manager, emailed Plaintiff’s counsel. Like Ms. White, on his LinkedIn

page, he identifies himself as employed at The Main Street America Group. 42 In his email, he

stated: “Please provide as much of the requested information as you are comfortable providing.

Upon receipt and review of same, if we are in need of additional, specific information we will

reach out to you to discuss. Otherwise, we will evaluate the claim for coverage based on the

information available to us.” Ex. E (email of 10/1/2020 10:04 a.m.)



42
     https://www.linkedin.com/in/brian-brennan-28668237/ (accessed 10/26/2020).

                                                        25
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   112. A few hours later and before Plaintiff’s counsel had an opportunity to respond, Ms. White

emailed Plaintiff’s counsel a “reservation of rights” letter under the letterhead, “The Main Street

America Group.” Ex. F. Despite Mr. Brennan’s statement that Plaintiff should just provide the

requested information it was “comfortable providing,” this letter attached the entire

Questionnaire and, even demanded additional information, such as “financial statements, payroll

records and operating cost records for five years before you started to incur the claimed losses,

and any other documents you believe substantiate the amount of loss claimed by you.” Ex. F 13.

As that statement indicates, such information would only be relevant if Main Street had decided

there was coverage and was attempting to determine the amount of loss. Yet Main Street had not

acknowledged coverage. Thus, by demanding that information, Main Street was simply

harassing Plaintiff.

   113. Plaintiff’s counsel emailed Mr. Brennan later that afternoon and asked if Ms. White’s re-

submission of the questionnaire with a request for even more information meant that he didn’t

mean what he said earlier about merely providing information Plaintiff was comfortable with.

Counsel also pointed out that what information he was “comfortable” providing was not the

issue. “You know what information you need to make your decision and what information you

have included in the questionnaire for some other reason. You should limit your questions to the

former.” Ex. E. He added: “Questions or requests for information related solely to the amount of

the loss are not relevant until Main Street has agreed that there is coverage. Once Main Street has

accepted coverage, I will be happy to quantify and substantiate the amount of the loss to the

extent that is possible at this time.” Id. (email of 10/1/2020 2:01 p.m.)

   114. Mr. Brennan responded by saying, once again, that counsel should “provide as much of

the requested information as you are comfortable providing.” Id. (email of 10/1/2020 1:15 p.m.).



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  115. Plaintiff’s counsel responded: “[A]lthough it is clear that you can’t possibly need some of

the information you asked for to determine whether you will accept coverage, I am not going to

speculate on what you need and what you requested for some other reason. Please clarify as I

have now requested three times.” Id. (email of 10/1/2020 2:31 p.m.)

  116. Mr. Brennan responded curtly, “Please review to my email 10-1-2020 1:15 OM as to the

company position on this matter.” Id. (email of 10/1/2020 1:34 p.m.)

  117. Plaintiff’s counsel responded: “I take it that you are declining to clarify your questions

and requests as I have asked.” Id. (email of 10/1/2020 2:37 p.m.)

  118. Mr. Brennan responded by, in an almost-word-for-word fashion, repeating his statement

that Counsel should provide “as much of the information as you are comfortable providing.” Id.

(email of 10/1/2020 2:14 p.m.)

  119. This time Plaintiff’s counsel replied, “I don’t see the point of going around in circles like

this. Three times I told you that I wasn’t going to speculate on what information you needed and

have asked you to clarify your questions and requests. Three times you failed to say that you

would do so. I know a ‘no’ when I see it.” Id. (email of 10/1/2020 2:32 p.m.)

  120. Within minutes, Plaintiff’s counsel received an email from Mr. Brennan stating that Main

Street had retained her in this matter and asking that all future communications be directed to

counsel. Ex. E (email of 10/1/2020 2:46 p.m.).

  121. On October 6, 2020, Defendants finally responded to the substance of the claim by

denying coverage in a letter by Defendants’ outside counsel. Ex. G. That letter states that it was

responding to a claim “for losses related to COVID-19” or, quoting Plaintiff’s claim, “for losses

sustained in connection with the interruption of their business related to the COVID-19

pandemic.” Id. at 1.



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  122. The letter began by complaining that Plaintiff had not provided information in response

to Defendants’ Questionnaire, without acknowledging that they had repeatedly refused to limit

the questions to those that were relevant to their determination of coverage rather than attempting

to burden Plaintiff with going to the time and effort of answering irrelevant questions.

  123. The letter even spent three paragraphs complaining that Plaintiff had “not stated the

amount of the loss or how the loss was calculated.” Id. at 2. Yet the letter didn’t explain why

they would need to know the amount of the claim to determine whether there was coverage at all.

  124. The letter went on to deny coverage for lost Business Income and Extra Expense on the

purported ground that there was no “physical loss or damage to the property.” Id. at 11. But as

shown above, the policy covers “loss of” property, which occurs when an insured cannot use its

property because of a pandemic. And Defendants also failed to acknowledge that the Policy

covers non-direct, non-physical damage to property, as shown above.

  125. Defendants also denied coverage under the Civil Authority provision on the ground that

Plaintiff hadn’t identified a Civil Authority order that triggered coverage. Id. at 11-12. Yet those

orders are all public and publicly available to anyone who does a modicum of investigation.

Defendants’ denial letter identified no Civil Authority orders. Obviously, Defendants did no

investigation.

  126. Defendants also claimed that the virus exclusion barred coverage but in so doing betrayed

a lack of understanding of the difference between the virus that causes the COVID-19 disease

and the disease itself. The letter refers to “the SARS-CoV-2 virus more commonly known as

COVID-19.” Id. at 12. As even the barest investigation would have told them, COVID-19 is not




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a virus. It is an illness or disease caused by a virus, as the United States Food & Drug

Administration states on its website: 43




     127. The World Health Organization states that, contrary to the denial letter, SARS-CoV-2 is

not more commonly known as COVID-19; instead, it is “the virus that causes COVID-19.” 44




                                                                             “SARS-CoV-2, the
                                                                              virus that causes
                                                                                COVID-19”




43
   https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/covid-19-
frequently-asked-questions (accessed 10/15/2020).
44
   https://www.who.int/news-room/commentaries/detail/transmission-of-sars-cov-2-implications-for-infection-
prevention-precautions (accessed 10/15/2020.

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     128. WHO made this simple concept even easier to understand on another webpage entitled,

“Naming the coronavirus disease (COVID-19) and the virus that causes it”: 45




                                                                                  Disease:
                                                                                 COVID-19

                                                                                   Virus:
                                                                                 SARS-CoV-2

     129. And, in case anyone still couldn’t understand, WHO explained why the virus and the

disease have different names. That explanation is, in part 46:




45
   https://www.who.int/emergencies/diseases/novel-coronavirus-2019/technical-guidance/naming-the-coronavirus-
disease-(covid-2019)-and-the-virus-that-causes-it (accessed 10/15/2020).
46
   Id.

                                                      30
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   130. In rejecting Plaintiff’s claim under the Virus Exclusion, Defendants were under the

misapprehension – presumably caused by the lack of an adequate investigation – that COVID-19

is a virus and therefore that Plaintiff’s claim for losses caused by COVID-19 was a claim for

losses directly caused by a virus without any other cause. But, in fact, a claim for losses caused

by COVID-19 is a claim for losses caused by a pandemic of a disease, and, at best, only

indirectly by a virus.

                                           V. JURY DEMAND

   131. Plaintiff demands a trial by jury on all claims so triable.

                   COUNT I: BUSINESS INCOME BREACH OF CONTRACT

   132. Plaintiff realleges and incorporates by reference the allegations contained in all prior

paragraphs of this Complaint, as though fully set forth herein and, to the extent necessary, pleads

this cause of action in the alternative.

   133. The Policy issued by Defendant to Plaintiff is an insurance contract under which

Defendant was paid premiums in exchange for promises to pay Plaintiff’s losses for claims

covered by The Policy.

   134. In The Policy, Defendant expressly agrees to pay for losses of Business Income incurred

as a result of causes not excluded under The Policy, including losses caused by the COVID-19

pandemic. Specifically, Defendant promises to pay for losses of Business Income (including

Extended Business Income) sustained as a result of a business suspension.

   135. A covered loss has resulted in business suspensions, which have caused Plaintiff lost

Business Income and Extended Business Income.

   136. The business suspensions and losses triggered the Business Income and Extended

Business Income coverage under The Policy.



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   137. Plaintiff has complied with all applicable provisions of The Policy, including payment of

premiums.

   138. Defendant, without justification, has refused performance under The Policy by denying

coverage for these losses. Accordingly, Defendant is in breach of The Policy.

   139. Due to Defendant’s breach of The Policy, Plaintiff has suffered actual and substantial

damages for which Defendant is liable, in an amount to be proved at trial.

 COUNT II: BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR
              DEALING APPLICABLE TO BUSINESS INCOME

   140. Plaintiff realleges and incorporates by reference the allegations contained in all prior

paragraphs of this Complaint, as though fully set forth herein and, to the extent necessary, pleads

this cause of action in the alternative.

   141. Defendant has breached the duty of good faith and fair dealing owed to Plaintiff in the

following respects:

            a. Unreasonably acting or failing to act in a manner that deprives Plaintiff of the
               benefits of its Policy;

            b. Unreasonably engaging in a pattern and practice of acting or failing to act in a
               manner that deprives Plaintiff of the benefits of its Policy;

            c. Unreasonably failing to conduct a prompt, fair, balanced and thorough
               investigation of all of the bases of Plaintiff’s claims;

            d. Unreasonably engaging in a pattern and practice of failing to conduct a prompt,
               fair, balanced and thorough investigation of all of the bases of claims made under
               Plaintiff’s Policy;

            e. Unreasonably failing to diligently search for and consider evidence that supports
               coverage of Plaintiff’s claims;

            f. Unreasonably engaging in a pattern and practice of failing to diligently search for
               and consider evidence that supports coverage of Plaintiff’s claims;

            g. Unreasonably failing to conduct an investigation to determine the efficient
               proximate cause (predominant cause) of Plaintiff’s losses;



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            h. Unreasonably engaging in a pattern and practice of failing to conduct an
               investigation to determine the efficient proximate cause (predominant cause) on
               claims made by insureds;

            i. Unreasonably failing to give at least as much consideration to the interests of
               Plaintiff as it gives to its own interests;

            j. Unreasonably engaging in a pattern and practice of failing to give at least as much
               consideration to the interests of its insureds as it gives to its own interests;

            k. Unreasonably placing its own financial interests above the interests of Plaintiff;
               and

            l. Unreasonably engaging in a pattern and practice of placing its own financial
               interests above the interests of its insureds.

   142. By acting in the aforementioned way, Defendant breached the implied covenant of good

faith and fair dealing.

   143. As a result of this breach, Plaintiff has been damaged in an amount to be proven at trial.

COUNT III: DECLARATORY RELIEF IN CONNECTION WITH BUSINESS INCOME

   144. Plaintiff realleges and incorporates by reference the allegations contained in all prior

paragraphs of this Complaint, as though fully set forth herein and, to the extent necessary, pleads

this cause of action in the alternative.

   145. This Court has jurisdiction to declare the rights and other legal relations pursuant to 28

U.S.C. §§ 2201-2202.

   146. Plaintiff’s Policy is an insurance contract under which Defendant was paid premiums in

exchange for promises to pay its losses for claims covered by The Policy.

   147. In The Policy, Defendant expressly agrees to pay for loss of Business Income and

Extended Business Income incurred as a result of the causes not excluded under The Policy.

Specifically, Defendant promised to pay for losses of business income and extended business

income sustained as a result of a business suspension.

   148. A covered loss has resulted in business suspensions, which has caused Plaintiff losses.

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   149. The business suspensions and losses triggered the Business Income and Extended

Business Income coverage under The Policy.

   150. Plaintiff has complied with all applicable provisions of The Policy, including payment of

premiums.

   151. Defendant, without justification, has refused performance under The Policy by denying

coverage for these losses and expenses. Accordingly, Defendant is in breach of The Policy.

   152. Plaintiff seeks a judicial determination of whether The Policy provides coverage for

Plaintiff’s losses.

   153. An actual case or controversy exists regarding Plaintiff’s rights and Defendant’s

obligations under the terms of The Policy.

                      COUNT IV: EXTRA EXPENSE BREACH OF CONTRACT

   154. Plaintiff realleges and incorporates by reference the allegations contained in all prior

paragraphs of this Complaint, as though fully set forth herein and, to the extent necessary, pleads

this cause of action in the alternative.

   155. Plaintiff’s Policy is an insurance contract under which Defendant was paid premiums in

exchange for promises to pay Plaintiff’s losses for claims covered by The Policy.

   156. In The Policy, Defendant expressly agrees to pay for extra expenses incurred as a result

of the causes not excluded under The Policy. Specifically, Defendant promises to pay amounts to

avoid or minimize the losses from suspension of business and to continue “operations” at

Plaintiff’s premises, to repair or replace any property, and other expenses.

   157. A covered loss has resulted in business suspensions. These suspensions have caused

Plaintiff to incur extra expenses.

   158. The extra expenses triggered the Extra Expense Coverage under The Policy



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   159. Plaintiff has complied with all applicable provisions of its Policy, including payment of

premiums.

   160. Defendant, without justification, has refused performance under The Policy by denying

coverage for these losses and expenses. Accordingly, Defendant is in breach of The Policy.

   161. Due to Defendant’ breach of The Policy, Plaintiff has suffered actual and substantial

damages for which Defendant is liable, in an amount to be proved at trial.

       COUNT V: BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND
       FAIR DEALING IN CONNECTION WITH EXTRA EXPENSE COVERAGE

   162. Plaintiff realleges and incorporates by reference the allegations contained in all prior

paragraphs of this Complaint, as though fully set forth herein and, to the extent necessary, pleads

this cause of action in the alternative.

   163. Defendant has breached the duty of good faith and fair dealing owed to Plaintiff with

respect to the Extra Expense provisions in the following respects:

            a. Unreasonably acting or failing to act in a manner that deprives Plaintiff the
               benefits of its Policy;

            b. Unreasonably engaging in a pattern and practice of acting or failing to act in a
               manner that deprives Plaintiff of the benefits of its Policy;

            c. Unreasonably failing to conduct a prompt, fair, balanced and thorough
               investigation of all of the bases of Plaintiff’s claims;

            d. Unreasonably engaging in a pattern and practice of failing to conduct a prompt,
               fair, balanced and thorough investigation of all of the bases of claims made under
               Plaintiff’s Policy;

            e. Unreasonably failing to diligently search for and consider evidence that supports
               coverage of Plaintiff’s claims;

            f. Unreasonably engaging in a pattern and practice of failing to diligently search for
               and consider evidence that supports coverage of Plaintiff’s claims;

            g. Unreasonably failing to conduct an investigation to determine the efficient
               proximate cause (predominant cause) of Plaintiff’s losses;



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            h. Unreasonably engaging in a pattern and practice of failing to conduct an
               investigation to determine the efficient proximate cause (predominant cause) on
               claims made by insureds;

            i. Unreasonably failing to give at least as much consideration to the interests of
               Plaintiff as it gives to its own interests;

            j. Unreasonably engaging in a pattern and practice of failing to give at least as much
               consideration to the interests of its insureds as it gives to its own interests;

            k. Unreasonably placing its own financial interests above the interests of Plaintiff;
               and

            l. Unreasonably engaging in a pattern and practice of placing its own financial
               interests above the interests of its insureds.

   164. By acting in the aforementioned way, Defendant breached the implied covenant of good

faith and fair dealing with respect to the Extra Expense provisions of The Policy.

   165. As a result of this breach, Plaintiff has been damaged in an amount to be proven at trial.

 COUNT VI: DECLARATORY RELIEF IN CONNECTION WITH EXTRA EXPENSE
                           COVERAGE

   166. Plaintiff realleges and incorporates by reference the allegations contained in all prior

paragraphs of this Complaint, as though fully set forth herein and, to the extent necessary, pleads

this cause of action in the alternative.

   167. This Court has jurisdiction to declare the rights and other legal relations pursuant to 28

U.S.C. §§ 2201-2202.

   168. Plaintiff’s Policy is an insurance contract under which Defendant was paid premiums in

exchange for promises to pay Plaintiff’s claims covered by The Policy.

   169. In The Policy, Defendant expressly agrees to pay extra expenses incurred as a result of

the causes not excluded under The Policy. Specifically, Defendant promises to pay amounts to

avoid or minimize the losses from suspension of business and to continue “operations” at

Plaintiff’s premises, to repair or replace any property, and other expenses.


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   170. A covered loss has resulted in business suspensions, which has caused Plaintiff losses.

   171. These covered losses have resulted, and will result, in extra expenses, which has caused

Plaintiff’s losses.

   172. The extra expenses triggered the Extra Expense Coverage under The Policy.

   173. Plaintiff has complied with all applicable provisions of The Policy, including payment of

premiums.

   174. Defendant, without justification, has refused performance under The Policy by denying

coverage for these losses and expenses. Accordingly, Defendant is in breach of The Policy.

   175. Plaintiff seeks a judicial determination of whether the Extra Expense provisions of The

Policy provides coverage for Plaintiff’s losses.

   176. An actual case or controversy exists regarding Plaintiff’s rights and Defendant’s

obligations under the terms of the Extra Expense provisions of Plaintiff’s Policy.

                  COUNT VII: CIVIL AUTHORITY BREACH OF CONTRACT

   177. Plaintiff realleges and incorporates by reference the allegations contained in all prior

paragraphs of this Complaint, as though fully set forth herein and, to the extent necessary, pleads

this cause of action in the alternative.

   178. The Policy issued by Defendant to Plaintiff is an insurance contract under which

Defendant was paid premiums in exchange for promises to pay Plaintiff’s losses for claims

covered by The Policy.

   179. In The Policy, Defendant expressly agrees to pay for losses caused by action of civil

authority that prohibits access to the described premises due to direct physical loss of or damage

to property, other than at the described premises, caused by or resulting from any Covered Cause

of Loss.

   180. Plaintiff has sustained such losses as set forth above.
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   181. Plaintiff has complied with all applicable provisions of The Policy, including payment of

premiums.

   182. Defendant, without justification, has refused performance under The Policy by denying

coverage for these losses. Accordingly, Defendant is in breach of The Policy.

   183. Due to Defendant’s breach of The Policy, Plaintiff has suffered actual and substantial

damages for which Defendant is liable, in an amount to be proved at trial.

COUNT VIII: BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR
        DEALING APPLICABLE TO CIVIL AUTHORITY COVERAGE

   184. Plaintiff realleges and incorporates by reference the allegations contained in all prior

paragraphs of this Complaint, as though fully set forth herein and, to the extent necessary, pleads

this cause of action in the alternative.

   185. Defendant has breached the duty of good faith and fair dealing owed to Plaintiff in the

following respects in connection with the Policy’s Civil Authority coverage:

            a. Unreasonably acting or failing to act in a manner that deprives Plaintiff of the
               benefits of its Policy;

            b. Unreasonably engaging in a pattern and practice of acting or failing to act in a
               manner that deprives Plaintiff of the benefits of its Policy;

            c. Unreasonably failing to conduct a prompt, fair, balanced and thorough
               investigation of all of the bases of Plaintiff’s claims;

            d. Unreasonably engaging in a pattern and practice of failing to conduct a prompt,
               fair, balanced and thorough investigation of all of the bases of claims made under
               Plaintiff’s Policy;

            e. Unreasonably failing to diligently search for and consider evidence that supports
               coverage of Plaintiff’s claims;

            f. Unreasonably engaging in a pattern and practice of failing to diligently search for
               and consider evidence that supports coverage of Plaintiff’s claims;

            g. Unreasonably failing to conduct an investigation to determine the efficient
               proximate cause (predominant cause) of Plaintiff’s losses;



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            h. Unreasonably engaging in a pattern and practice of failing to conduct an
               investigation to determine the efficient proximate cause (predominant cause) on
               claims made by insureds;

            i. Unreasonably failing to give at least as much consideration to the interests of
               Plaintiff as it gives to its own interests;

            j. Unreasonably engaging in a pattern and practice of failing to give at least as much
               consideration to the interests of its insureds as it gives to its own interests;

            k. Unreasonably placing its own financial interests above the interests of Plaintiff;
               and

            l. Unreasonably engaging in a pattern and practice of placing its own financial
               interests above the interests of its insureds.

   186. By acting in the aforementioned way, Defendant breached the implied covenant of good

faith and fair dealing.

   187. As a result of this breach, Plaintiff has been damaged in an amount to be proven at trial.

COUNT IX: DECLARATORY RELIEF IN CONNECTION WITH CIVIL AUTHORITY
                          COVERAGE

   188. Plaintiff realleges and incorporates by reference the allegations contained in all prior

paragraphs of this Complaint, as though fully set forth herein and, to the extent necessary, pleads

this cause of action in the alternative.

   189. This Court has jurisdiction to declare the rights and other legal relations pursuant to 28

U.S.C. §§ 2201-2202.

   190. Plaintiff’s Policy is an insurance contract under which Defendant was paid premiums in

exchange for promises to pay its losses for claims covered by The Policy.

   191. In The Policy, Defendant expressly agrees to pay for loss under the Civil Authority

provision. Specifically, Defendant promises to pay for losses caused by action of civil authority

that prohibits access to the described premises due to direct physical loss of or damage to




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property, other than at the described premises, caused by or resulting from any Covered Cause of

Loss.

   192. A covered loss has resulted in business suspensions, which has caused Plaintiff losses.

   193. The business suspensions and losses triggered the Civil Authority coverage under The

Policy.

   194. Plaintiff has complied with all applicable provisions of The Policy, including payment of

premiums.

   195. Defendant, without justification, has refused performance under The Policy by denying

coverage for these losses and expenses. Accordingly, Defendant is in breach of The Policy.

   196. Plaintiff seeks a judicial determination of whether The Policy provides coverage for

Plaintiff’s losses.

   197. An actual case or controversy exists regarding Plaintiff’s rights and Defendant’s

obligations under the terms of The Policy.

                                    PRAYER FOR RELIEF

    WHEREFORE, Plaintiffrespectfully requests that the Court enter judgment against

Defendant, as follows:

    1. A judicial declaration declaring the meaning of the provisions of The Policy concerning

the business income coverage and extra expense coverage;

    2. An award of damages to Plaintiff in an amount to be determined at trial;

    3. An order requiring Defendant to pay both pre- and post-judgment interest on any

amounts awarded, as allowed by law;

    4. An award of costs as allowed by law; and

    6. Such other or further relief as may be appropriate.

Dated: October 27, 2020                 Respectfully submitted,
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